       Case 1:08-cv-00165-BLW Document 60-11 Filed 09/29/10 Page 1 of 10
                                                                          Martin	  &	  Saunders	  Report,	  Exhibit	  G—Page	  1	  of	  10	  
	  
                         Exhibit	  G:	  Analysis	  of	  the	  57th-­59th	  Idaho	  Senate	  and	  House	  

                                                            Summary	  Points	  

1.	  An	  original	  analysis	  of	  roll	  call	  voting	  data	  in	  the	  Idaho	  legislature	  suggests	  that	  political	  
parties	  are	  extremely	  ideologically	  cohesive	  and	  quite	  strong.	  	  There	  is	  little	  overlap—if	  
any—between	  the	  most	  liberal	  Republican	  and	  the	  most	  conservative	  Democrat	  in	  the	  
legislature.	  

2.	  	  There	  is	  no	  evidence	  of	  a	  Trojan	  Horse	  candidate	  winning	  an	  election	  and	  serving	  as	  a	  
Republican-­‐in-­‐name-­‐only	  in	  the	  Idaho	  legislature.	  	  

3.	  	  The	  Idaho	  legislature	  is	  already	  extremely	  polarized;	  this	  could	  be	  exacerbated	  if	  the	  
state	  moved	  to	  a	  closed	  primary	  system.	  
                       Case 1:08-cv-00165-BLW Document 60-11 Filed 09/29/10 Page 2 of 10
                                                                                                                                                                                                                                   Martin	  &	  Saunders	  Report,	  Exhibit	  G—Page	  2	  of	  10	  
	  
Introduction	  

In	  order	  to	  assess	  the	  potential	  impact	  of	  crossover	  voting	  it	  is	  important	  to	  look	  at	  the	  
behavior	  of	  those	  who	  emerge	  from	  the	  electoral	  process.	  	  If	  crossover	  voting	  is	  rampant—
and	  “real”	  Democrats	  are	  elected	  to	  the	  House	  or	  Senate	  as	  Republicans—we	  would	  expect	  
the	  legislative	  behavior	  of	  these	  Republicans-­‐in-­‐name-­‐only	  to	  behave	  more	  like	  Democrats	  
than	  Republicans.	  	  If,	  on	  the	  other	  hand,	  the	  data	  show	  a	  typical	  highly	  polarized	  legislature	  
with	  great	  ideological	  cohesion	  by	  party,	  one	  could	  conclude	  that	  crossover	  voting	  is	  not	  
consequential.	  

Perhaps	  the	  most	  consequential	  behavior	  in	  any	  legislative	  body—especially	  in	  the	  United	  
States—is	  casting	  roll	  call	  votes	  on	  important	  matters	  of	  the	  day.	  	  In	  every	  legislative	  
session,	  members	  of	  the	  Idaho	  legislature	  cast	  votes	  on	  scores	  of	  matters,	  ranging	  from	  
agriculture,	  education,	  and	  the	  environment,	  to	  the	  budget	  and	  matters	  concerning	  small	  
businesses.	  	  For	  nearly	  fifty	  years,	  political	  scientists	  have	  used	  these	  roll	  call	  data	  and	  
increasingly	  sophisticated	  statistical	  models	  to	  place	  members	  of	  legislative	  bodies	  on	  an	  
ideological	  continuum	  (for	  a	  review	  see	  Poole	  2007).	  	  In	  doing	  so,	  it	  allows	  testing	  of	  all	  
manner	  of	  theories	  of	  legislative	  behavior.	  

The	  Data	  

The	  purpose	  of	  this	  study	  is	  to	  understand	  the	  roll	  call	  voting	  behavior	  in	  the	  57th	  (2003-­‐
2004),	  58th	  (2005-­‐2006),	  and	  59th	  (2007-­‐2008)	  sessions	  of	  the	  Idaho	  legislature	  for	  both	  the	  
House	  and	  Senate.	  	  We	  extracted	  every	  roll	  call	  vote	  from	  the	  Journal	  of	  the	  House	  of	  
Representatives	  and	  the	  Senate	  Journal	  of	  the	  Idaho	  Legislature	  for	  these	  six	  years	  (the	  
bibliography	  contains	  online	  links	  to	  the	  journals).	  	  We	  then	  entered	  these	  data	  into	  a	  
matrix	  for	  each	  House	  and	  Senate,	  which	  recorded	  whether	  each	  member	  voted	  yes,	  no,	  and	  
did	  not	  participate	  for	  each	  roll	  call	  vote.1	  	  For	  the	  72	  members	  that	  served	  in	  the	  57th	  
House,	  there	  were	  1075	  roll	  calls	  cast;	  555	  of	  them	  were	  non-­‐unanimous.	  	  (There	  are	  more	  
than	  70	  members	  because	  of	  turnover	  in	  the	  legislature	  during	  or	  between	  sessions).	  	  For	  
the	  58th	  House,	  there	  were	  1277	  roll	  calls	  cast;	  with	  554	  being	  non-­‐unanimous.	  	  For	  the	  59th	  
House,	  there	  were	  again	  72	  members.	  	  1149	  roll	  calls	  were	  cast;	  481	  that	  were	  non-­‐
unanimous.	  	  There	  were	  35	  members	  in	  the	  57th	  Senate.	  	  A	  total	  of	  951	  roll	  calls	  were	  cast;	  
359	  were	  non-­‐unanimous.	  	  For	  the	  58th	  Senate,	  the	  36	  members	  cast	  1017	  roll	  call	  votes;	  
280	  were	  non-­‐unanimous.	  	  Finally,	  for	  the	  59th	  Senate,	  the	  35	  members	  cast	  906	  roll	  call	  
votes;	  205	  that	  were	  non-­‐unanimous.	  	  This	  analysis	  could	  be	  done	  for	  many	  more	  legislative	  
sessions,	  we	  simply	  ran	  out	  of	  resources	  and	  time.	  	  These	  sessions	  span	  the	  time	  period	  of	  
interest	  in	  Professor	  Munger’s	  report	  and	  Mr.	  Ripley’s	  report.	  	  I	  refer	  to	  some	  of	  the	  specific	  
findings	  here	  when	  discussing	  Mr.	  Ripley’s	  report.	  

The	  Model	  

The	  next	  step	  in	  the	  process	  is	  to	  use	  these	  data	  to	  locate	  each	  member	  in	  an	  ideological	  
space.	  	  Professor	  Munger	  uses	  the	  spatial	  theory	  of	  voting	  to	  discuss	  behavior	  in	  the	  
electorate.	  	  A	  similar	  long-­‐standing	  tradition	  uses	  the	  spatial	  theory	  of	  voting	  to	  describe	  
how	  legislators	  (and—in	  appellate	  courts—judges)	  reach	  their	  decisions.	  	  In	  the	  literature	  
there	  are	  two	  commonly	  used	  models:	  the	  NOMINATE	  model	  and	  its	  variants	  (Poole	  2005),	  
and	  a	  Bayesian	  item	  response	  theory	  model	  (Clinton,	  Jackman,	  and	  Rivers	  2004).	  	  Both	  
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  We	  treated	  paired	  votes—when	  members	  on	  opposite	  sides	  of	  an	  issue	  agree	  beforehand	  not	  to	  participate	  but	  

publicly	  announce	  their	  position—as	  actual	  votes.	  	  We	  also	  treat	  cases	  where	  an	  individual	  votes	  as	  a	  temporary	  
substitute	  member	  for	  another	  member	  as	  being	  cast	  by	  the	  member	  being	  substituted	  for.	  
                       Case 1:08-cv-00165-BLW Document 60-11 Filed 09/29/10 Page 3 of 10
                                                                                                                                                                                                                                   Martin	  &	  Saunders	  Report,	  Exhibit	  G—Page	  3	  of	  10	  
	  
models	  will	  recover	  the	  same	  rank-­‐ordering	  of	  legislators,	  and	  since	  that	  is	  our	  interest	  
here,	  the	  choice	  of	  which	  model	  to	  use	  is	  inconsequential.	  	  I	  thus	  adopt	  the	  Clinton,	  Jackman,	  
and	  Rivers	  model	  for	  analysis.2	  	  What	  comes	  out	  of	  the	  analysis	  is	  the	  relative	  location	  of	  
each	  member	  of	  the	  legislature	  that	  runs	  on	  a	  dimension	  from	  liberal	  (left)	  to	  conservative	  
(right),	  along	  with	  a	  measure	  of	  the	  uncertainty	  of	  the	  estimate.	  

The	  Findings	  

I	  report	  the	  estimates	  from	  the	  model	  graphically	  in	  a	  series	  of	  six	  figures.	  	  Each	  figure	  
contains	  a	  dotplot,	  which	  shows	  the	  location	  of	  each	  member	  in	  the	  respective	  session.	  	  The	  
dot	  for	  each	  member	  is	  the	  estimated	  position	  of	  the	  member	  in	  ideological	  space.	  	  The	  thick	  
line	  that	  runs	  through	  the	  dot	  is	  a	  90%	  credible	  interval,	  representing	  the	  model’s	  
uncertainty	  in	  the	  estimate.	  	  For	  the	  sake	  of	  presentation,	  members	  are	  presented	  from	  the	  
most	  liberal	  to	  the	  most	  conservative.	  	  Democrats	  are	  shown	  with	  blue	  dots;	  Republicans	  
with	  red	  dots.	  Finally,	  above	  each	  dot	  plot	  is	  a	  density	  plot	  that	  shows	  the	  collective	  
distribution	  of	  the	  locations	  of	  the	  Democrats	  (in	  blue)	  and	  Republicans	  (in	  red).	  	  Because	  
the	  Republicans	  enjoy	  such	  an	  overwhelming	  majority	  throughout	  this	  time	  period,	  the	  
overall	  distribution	  of	  the	  legislature	  is	  mostly	  red.	  	  What	  follows	  is	  a	  discussion	  of	  the	  
patterns	  that	  emerge	  from	  each	  set	  of	  analysis.	  

Figure	  G-­‐1	  shows	  the	  results	  from	  the	  57th	  Idaho	  House	  (2003-­‐2004).	  	  There	  is	  a	  
tremendous	  amount	  of	  party	  cohesion	  among	  72	  members	  who	  served	  in	  this	  session.	  	  Of	  
the	  fifty-­‐five	  Republicans,	  all	  but	  two	  are	  ideologically	  contiguous.	  	  Of	  the	  seventeen	  
Democrats,	  all	  but	  two	  are	  ideologically	  contiguous.	  	  The	  most	  conservative	  Democrat	  in	  the	  
57th	  House	  is	  Cuddy	  (District	  8).	  	  Cuddy	  hails	  from	  a	  markedly	  Republican	  area	  of	  the	  state.	  	  
The	  only	  way	  for	  a	  Democrat	  to	  be	  electorally	  viable	  in	  such	  a	  district	  is	  to	  be	  somewhat	  
conservative.	  	  Shepherd	  (District	  2)	  is	  the	  next	  most	  conservative	  Democrat.	  	  She	  hails	  from	  
another	  predominantly	  Republican	  area	  of	  the	  state,	  including	  Shoshone	  and	  Benewah	  
Counties	  and	  parts	  of	  Bonner	  and	  Kootenai	  counties.	  	  The	  most	  liberal	  Republican	  Trail	  
hails	  from	  District	  6	  (Latah	  County),	  one	  of	  the	  most	  liberal	  counties	  in	  the	  state.	  	  The	  only	  
way	  for	  a	  Republican	  to	  be	  viable	  in	  this	  district	  is	  to	  fall	  near	  the	  median	  voter	  which,	  in	  
Latah	  County,	  is	  likely	  to	  the	  left	  of	  the	  ideological	  spectrum	  in	  Idaho.	  

I	  present	  results	  from	  the	  58th	  Idaho	  House	  (2005-­‐2006)	  in	  Figure	  G-­‐2.	  	  This	  House	  again	  
featured	  17	  Democrats.	  	  But	  for	  Shepherd	  (District	  2),	  the	  amount	  of	  polarization	  is	  stark.	  	  
Again,	  Representatives	  Jones	  and	  Trail	  are	  the	  most	  liberal	  Republicans.	  	  It's	  striking	  to	  note	  
that	  both	  were	  re-­‐elected.	  	  It	  is	  simply	  implausible	  that	  these	  two	  candidates	  were	  Trojan	  
Horse	  Democrats	  winning	  on	  the	  Republican	  ticket	  in	  sequential	  elections.	  	  The	  extremely	  
wide	  credible	  interval	  for	  Marriott	  (R)	  also	  deserves	  mention.	  	  Marriott	  cast	  only	  three	  roll	  
call	  votes	  in	  the	  2006	  Special	  Session;	  the	  model,	  thus,	  has	  very	  little	  information	  about	  his	  
spatial	  location,	  which	  is	  expressed	  with	  the	  great	  deal	  of	  uncertainty	  in	  his	  location.	  

The	  results	  of	  the	  59th	  Idaho	  House	  (2007-­‐2008)—presented	  in	  Figure	  G-­‐3—look	  very	  
similar.	  	  Trail	  is	  the	  only	  Republican	  that	  overlaps	  the	  Democrats.	  	  Representative	  Trail	  
continues	  to	  win	  election	  in	  Latah	  County	  as	  a	  Republican.	  	  That	  fact	  that	  he	  is	  the	  most	  
liberal	  Republican	  suggests	  that	  he	  is	  representing	  his	  district	  well;	  otherwise,	  he	  would	  
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
2	  The	  models	  reported	  here	  were	  estimated	  using	  the	  MCMCirt1d()	  function	  in	  MCMCpack	  (Martin,	  Quinn,	  and	  

Park	  2009).	  The	  default	  priors	  are	  used	  for	  the	  spatial	  locations	  and	  bill	  parameters.	  	  All	  chains	  were	  run	  for	  
20,000	  iterations	  after	  a	  burn-­‐in	  of	  2,500	  iterations.	  	  All	  chains	  demonstrate	  convergence.	  	  To	  identify	  each	  
model,	  we	  arbitrarily	  fix	  one	  member	  at	  -­‐2	  on	  the	  scale	  and	  other	  at	  2.	  	  All	  estimates	  are	  relative	  to	  those	  
positions,	  and	  thus	  should	  not	  be	  compared	  across	  sessions.	  
       Case 1:08-cv-00165-BLW Document 60-11 Filed 09/29/10 Page 4 of 10
                                                                           Martin	  &	  Saunders	  Report,	  Exhibit	  G—Page	  4	  of	  10	  
	  
easily	  be	  defeated	  in	  the	  primary	  or	  general	  election.	  	  Overall,	  the	  results	  from	  the	  House	  do	  
not	  suggest	  there	  are	  any	  Trojan	  Horse	  candidates	  winning	  election	  in	  the	  Idaho	  
Legislature.	  	  	  

There	  is	  some	  overlap	  among	  Republicans	  hailing	  from	  liberal-­‐leaning	  districts	  and	  
Democrats	  hailing	  from	  conservative-­‐leaning	  districts,	  but	  overall	  the	  parties	  are	  quite	  
distinct.	  	  The	  amount	  of	  overlap	  in	  the	  57th	  House	  is	  small	  compared	  to	  other	  bodies,	  such	  as	  
the	  U.S.	  House	  and	  Senate	  over	  the	  last	  few	  decades.	  	  Since	  1977	  there	  has	  been	  an	  
increasing	  polarization	  in	  American	  politics	  (McCarty,	  Poole,	  and	  Rosenthal	  2006),	  both	  in	  
the	  electorate	  and	  in	  the	  Congress.	  	  The	  data	  here	  suggest	  that	  the	  pattern	  is	  evident	  in	  
Idaho,	  in	  far	  greater	  magnitude.	  	  Moving	  to	  a	  closed	  primary	  system	  has	  the	  potential	  to	  
increase	  polarization	  all	  the	  more.	  

The	  results	  from	  the	  Senate	  are	  all	  the	  more	  striking.	  	  Figures	  G-­‐4	  through	  G-­‐6	  contain	  the	  
estimates	  for	  the	  57th,	  58th,	  and	  59th	  Senates.	  	  In	  no	  case	  is	  the	  most	  conservative	  Democrat	  to	  
the	  right	  of	  the	  most	  liberal	  Republican!	  	  Senator	  Schroeder	  (District	  6)	  hails	  from	  Latah	  
County.	  	  It,	  along	  with	  the	  smaller	  in	  population	  Blaine	  County,	  were	  the	  two	  counties	  that	  
voted	  most	  for	  President	  Obama	  in	  the	  2008	  election.	  	  The	  only	  way	  for	  a	  Republican	  
candidate	  to	  be	  viable	  term-­‐after-­‐term	  in	  this	  district	  is	  to	  represent	  the	  median	  voter—
something	  Schroeder	  seems	  to	  be	  doing	  well.	  	  I	  will	  discuss	  Schroeder	  more	  specifically	  in	  
my	  reactions	  to	  Mr.	  Ripley's	  report.	  	  The	  model	  shows	  that	  in	  the	  57th	  Senate,	  the	  
probability	  that	  Schroeder	  is	  to	  the	  right	  of	  Marley	  is	  97.0%.	  	  There	  is	  more	  differentiation	  
between	  the	  most	  liberal	  Republican	  and	  the	  most	  conservative	  Democrat	  in	  the	  58th	  
Senate;	  the	  probability	  is	  greater	  than	  99.9%.	  	  It	  drops	  to	  96.0%	  in	  the	  59th.	  

The	  amount	  of	  polarization	  here	  is	  stark.	  	  Indeed,	  there	  is	  a	  clear	  split	  ideologically	  between	  
elected	  Democrats	  and	  Republicans;	  i.e.,	  there	  is	  no	  evidence	  whatsoever	  of	  Trojan	  Horse	  
candidates.	  	  Moreover,	  even	  if	  one	  believed	  that	  Trojan	  Horse	  candidates	  were	  winning,	  for	  
that	  to	  be	  consequential	  legislatively,	  they	  would	  have	  to	  be	  winning	  in	  great	  numbers.	  	  
Indeed,	  just	  as	  an	  example,	  for	  the	  59th	  Senate,	  there	  would	  have	  to	  be	  eleven	  Trojan	  Horse	  
Republicans	  along	  with	  the	  seven	  Democrats	  to	  produce	  a	  legislative	  majority!	  	  That	  is	  clearly	  
not	  happening.	  
           Case 1:08-cv-00165-BLW Document 60-11 Filed 09/29/10 Page 5 of 10
                                                                                    Martin	  &	  Saunders	  Report,	  Exhibit	  G—Page	  5	  of	  10	  
	  




                                                                                                                               	  




                                                                                                                               	  
Figure	  G-­1.	  	  Roll	  call	  vote	  analysis	  of	  the	  57th	  Idaho	  House	  (2003-­‐2004).	  	  The	  dotplot	  shows	  the	  
estimated	  location	  of	  each	  member	  and	  a	  90%	  credible	  interval.	  	  Democrats	  are	  shown	  in	  blue;	  
Republicans	  in	  red.	  	  The	  density	  plot	  shows	  the	  distribution	  of	  locations	  for	  each	  party.	  The	  model	  
correctly	  classifies	  91.2%	  of	  the	  roll	  call	  votes.	  
           Case 1:08-cv-00165-BLW Document 60-11 Filed 09/29/10 Page 6 of 10
                                                                                    Martin	  &	  Saunders	  Report,	  Exhibit	  G—Page	  6	  of	  10	  
	  




                             	                                                                                                  	  




                                                                                                                               	  
Figure	  G-­2.	  	  Roll	  call	  vote	  analysis	  of	  the	  58th	  Idaho	  House	  (2005-­‐2006).	  	  The	  dotplot	  shows	  the	  
estimated	  location	  of	  each	  member	  and	  a	  90%	  credible	  interval.	  	  Democrats	  are	  shown	  in	  blue;	  
Republicans	  in	  red.	  	  The	  density	  plot	  shows	  the	  distribution	  of	  locations	  for	  each	  party.	  The	  model	  
correctly	  classifies	  91.6%	  of	  the	  roll	  call	  votes.	  
           Case 1:08-cv-00165-BLW Document 60-11 Filed 09/29/10 Page 7 of 10
                                                                                    Martin	  &	  Saunders	  Report,	  Exhibit	  G—Page	  7	  of	  10	  
	  




                                                                                                                               	  




                                                                                                                               	  
Figure	  G-­3.	  	  Roll	  call	  vote	  analysis	  of	  the	  59th	  Idaho	  House	  (2007-­‐2008).	  	  The	  dotplot	  shows	  the	  
estimated	  location	  of	  each	  member	  and	  a	  90%	  credible	  interval.	  	  Democrats	  are	  shown	  in	  blue;	  
Republicans	  in	  red.	  	  The	  density	  plot	  shows	  the	  distribution	  of	  locations	  for	  each	  party.	  The	  model	  
correctly	  classifies	  92.8%	  of	  the	  roll	  call	  votes.
           Case 1:08-cv-00165-BLW Document 60-11 Filed 09/29/10 Page 8 of 10
                                                                                    Martin	  &	  Saunders	  Report,	  Exhibit	  G—Page	  8	  of	  10	  
	  
	  
                                                                             	  




                                                                                                                               	  




                                                                                                                               	  
                                                                             	  
       Figure	  G-­4.	  	  Roll	  call	  vote	  analysis	  of	  the	  57th	  Idaho	  Senate	  (2003-­‐2004).	  	  The	  dotplot	  
       shows	  the	  estimated	  location	  of	  each	  member	  and	  a	  90%	  credible	  interval.	  	  Democrats	  are	  
       shown	  in	  blue;	  Republicans	  in	  red.	  	  The	  density	  plot	  shows	  the	  distribution	  of	  locations	  for	  
       each	  party.	  The	  model	  correctly	  classifies	  89.1%	  of	  the	  roll	  call	  votes.	  
                                                                             	  
           Case 1:08-cv-00165-BLW Document 60-11 Filed 09/29/10 Page 9 of 10
                                                                                    Martin	  &	  Saunders	  Report,	  Exhibit	  G—Page	  9	  of	  10	  
	  
                                                                             	  




                                                                                                                               	  




                                                                                                                               	  
       Figure	  G-­5.	  	  Roll	  call	  vote	  analysis	  of	  the	  58th	  Idaho	  Senate	  (2005-­‐2006).	  	  The	  dotplot	  
       shows	  the	  estimated	  location	  of	  each	  member	  and	  a	  90%	  credible	  interval.	  	  Democrats	  are	  
       shown	  in	  blue;	  Republicans	  in	  red.	  	  The	  density	  plot	  shows	  the	  distribution	  of	  locations	  for	  
       each	  party.	  The	  model	  correctly	  classifies	  89.1%	  of	  the	  roll	  call	  votes.	  
         Case 1:08-cv-00165-BLW Document 60-11 Filed 09/29/10 Page 10 of 10
                                                                                        Martin	  &	  Saunders	  Report,	  Exhibit	  G—Page	  10	  of	  10	  
	  
                                                                             	  	  




                                                                                                                                     	  




                                                                                                                                     	  
                                                                             	  
       Figure	  G-­6.	  	  Roll	  call	  vote	  analysis	  of	  the	  59th	  Idaho	  Senate	  (2007-­‐2008).	  	  The	  dotplot	  
       shows	  the	  estimated	  location	  of	  each	  member	  and	  a	  90%	  credible	  interval.	  	  Democrats	  are	  
       shown	  in	  blue;	  Republicans	  in	  red.	  	  The	  density	  plot	  shows	  the	  distribution	  of	  locations	  for	  
       each	  party.	  The	  model	  correctly	  classifies	  88.5%	  of	  the	  roll	  call	  votes.	  
